Case 7:22-cv-00466-EKD-JCH. Document 1 Filed 08/12/22 Pagelof8 Pageid#: 1

VIRGINIA:
IN THE UNITED STATES DISTRICT COURT a. vere weit
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FOR THE CES ROANOKE, VA
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Complaint No. |.-Z2A\IYUlo.-~p

Glenn Youngkin, Jason S. Miyares, Todd Gilbert,
Winsome Earle-Sears, Dick Saslaw, Terry. Kilgore,

Thomas Norment Jr., Charniele Herring, and Harold Clarke
Defendants et al

COMPLAINT

JURISDICTION & VENUE

1. This is a civil action authorized by 42 U.S.C. $1983 and §1985 to redress

the deprivation rights and the conspiracy to deprive rights secured by the
Constitution of the United States under the color of state law. This court has
Jurisdiction under 28 U.S.C. §1331 and $1343 (a)(3). This court also has supplemental
jurisdiction under 28 U.S.C. §1367. Plaintiff seeks declaratory relief pursuant

to U.S.C. section §2201 and §2202. Plaintiff's claims for injuctive relief are
authorized by 28 U.S.C. §2284 and Rule 65 of the Federal Rules of Civil Procedure.

2. The United States District Court for the Western District of Virginia, is an
appropriate venue under 28 U.S.C. §1391 (b)(2) because it is where the events
giving rise to this claim occurred.
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3. Roleet lowss bdincla, 3 is and was at all times mentioned herein a

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prisoner of the state of Virginia in the custody of the VA D.O.C.. He is
currently confined at Green Rock Correctional Center, 475 Green Rock Lane, Chatham,’ -

Va. 24531.
DEFENDANTS

4. Glenn Youngkin: Governor of Vifginia.

5. Jason S. Miyares: Attorney General of Virginia.

6. Virginia General Assembly: Legislative Body, (speaker, Todd Gilbert), (Senate
President, Winsome Earle-Sears), (Majority Leader: for the Senate, Dick Saslaw),
Majority Leader for the House, Terry Kilgore), (Minoity Leader for the Senate,
Thomas Norment Jr.), Minority Leader for the House, Charniele Herring).

7. Harold Clarke: Director of the Department of Corrections,

i , . .
Each defendant is sued in his/her official and individual capacity.: At all
times mentioned in this complaint, .each defendant acted under the colr of state law.

FACTS

8. House Bill 5148, an act to amend and reenact §53.1-202.3 of the Code of
Virginia distinguishes between violent and non-violent felons, limiting earned
sentence credits for one felon while enhancing credits for the other, as of July
1, 2022,

9. Prior to the abovementioned date, as of July 1, 1995, Virginia abolished parole
and all felons earned a maximum of 4.5 days of good time allowance for‘every 30.
days served. °

10. ‘The recidivism rate overal] for the stae of Virginia is 23.4%, violent recidi-
vism is at a rate of 20%, non-violent recidivism is at a rate of 25.3%, and drug
offense recidivism is at a rate of 19.4%, according to the VA D.O.C. Research-

Evaluation Unit as of October of 2021. ~°

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11.cRehabilitation is a staple and~the ultimate goal of the Virginia Department
of Corrections and it is determined by the Plaintiffs compliance with all
treatment plans, his adherance to all institutional rules, and his disciplinary

record.

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12. The system of earned sentence credits catagorizes the Plaintiff as not worthy
of earning what is available to similarly situated persons, although both may be in
full compliance with overall treatment plans and all rehabilitative efforts assigned
to the pursuant to §53.1-32.1 of the Virginia Code, the Plaintiff is excluded from
earning the maximum of 15 days for every 30 served due to the nature of his crime
alone.

. 13. Qualified Immunity is inapplicable to the defendants as the alleged violations
were done knowingly, willingly, intentionally, and deliberately. : '

14. Sovereign Immunity is inapplicable to the defendants as they are servants of the
people, elected officers of the state of Virginia, and all have a law.degree which
is need to perform their duties as elected officers. The defendants acted wontonly,
in a gross negligent manner or beyond the scope of their employment.

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LEGAL CLAIMS

15. The Plaintiff was deprived of his rights and privileges under the equal» cy |
protection clause of the 14th Amendment of the United States Constitution when the
defendants conspired to discriminate against him through the construction of House
Bill 5148.

16. The Plaintiff's right to an equal protection of the laws under the 14th Amendment
has beeh violated under the color of state law, House Bill 5148, as béing enforced
dicriminates against the Plaintiff for the nature of his felony.

17. There is no rational basis for the deprivation of rights or privileges provided
by or within House Bill 5148. The Plaintiff's exclusion from these rights or ......°
privileges are a violation of the equal protection clause of the 14th Amendment
under the United states Constitution.

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REQUEST FOR RELIEF

Wherefore the Plaintite respectfully prays that this Honorable Court grant the
following:

18.>A declaration that the acts described herein violated the rights of the Plain-
tiff under federal law and the Constitution of the United States of America;

19. > A preliminary and permenent injuction ordering the Defendants to! cease the
disparity, (unequal treatment), where they only provide certain felons with
enhanced good time sentence credits of prisoners and not providing it to all
members of a catagory;

20. > Nominal Damages of $1.00;
21. > Plaintiff's cost; and

22. > Other such relief as it may appear that the Plaintiff is entitled to.

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VERIFICATION

23. JI have read the foregoing complaint and hereby verify the matter alleged are

true, except as to matters alleged on information, belief , or derivative thereof,
and, as to those I believe them to be true and correct.

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sO Signature / Date

8/8/22

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CERTIFICATION OF SERVICE

24. Ty Reet louis (inches » inmate #fogsagb, do hereby certify that
thé foregoing complaint was sent to the following by U.S. Postal/certified mail °

on this 8 th day of Piss ct, 2022: |

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The DOC has neither censored

nor inspected this item and
assumes no responsibility

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